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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF LOS
ANGELES TIMES COMMUNICATIONS
LLC TO UNSEAL COURT RECORDS            The Honorable Beryl A. Howell
                                       Misc. Action No. 1:21-mc-00016




SUPPLEMENTAL RESPONSE OF LOS ANGELES TIMES COMMUNICATIONS LLC
              IN OPPOSITION TO CONTINUED SEALING




                                      Katie Townsend
                                      ktownsend@rcfp.org
                                      D.C. Bar. No. 1026115
                                      Grayson Clary
                                      gclary@rcfp.org
                                      D.C. Bar No. 1735810
                                      REPORTERS COMMITTEE FOR
                                       FREEDOM OF THE PRESS
                                      1156 15th Street NW, Suite 1020
                                      Washington, D.C. 20005
                                      Telephone: (202) 795-9300
                                      Facsimile: (202) 795-9310

                                      Counsel for Applicant Los Angeles Times
                                      Communications LLC
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                                       INTRODUCTION

       Pursuant to this Court’s minute order of August 8, 2022, Applicant Los Angeles Times

Communications LLC respectfully submits this supplemental response in continued opposition

to the Government’s proposed redactions to the judicial records at issue in this case (the

“Warrant Materials”). The Government’s recent supplement to its motion, see Gov’t’s

Supplement Pursuant to Court’s Minute Order (ECF No. 29), is largely nonresponsive to the

arguments Applicant advanced in its opposition, which explain why additional unsealing of the

Warrant Materials is required under the common law and Constitution, see Response of Los

Angeles Times Communications LLC in Opposition to Continued Sealing (ECF No. 26). For the

reasons given therein and supplemented here, Applicant respectfully urges this Court to order

further unsealing of the Warrant Materials. See In re Application of WP Company LLC (“In re

WP I”), No. 16-mc-351, 2016 WL 1604976, at *3 (D.D.C. Apr. 1, 2016) (Howell, C.J.).

       I.       The Government’s supplemental response continues to ignore the Hubbard
                factors that prompted the D.C. Circuit to remand.

       This Court ordered the Government to provide a “specific explanation as to why each of

the proposed redactions” to certain paragraphs of the Warrant Materials “is warranted, under

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980), notwithstanding the public disclosures

made in SEC v. Fauth[.]” Minute Order, In re Application of Los Angeles Times Commc’ns

LLC, No. 1:21-mc-00016 (D.D.C. July 30, 2022) (second emphasis added). The Government’s

submission fails to comply with that instruction because it does not attempt to apply Hubbard; it

merely recites the Government’s claimed secrecy interests without reference to the test’s

remaining factors or those factors’ relevance to any specific redaction proposed by the

Government. See MetLife v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir.

2017) (setting out the six Hubbard factors); see also CNN v. FBI, 984 F.3d 114, 119 (D.C. Cir.



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2021) (emphasizing that each Hubbard factor must be applied to “the specific information that

remains redacted” (quotation omitted)). In other words, the Government continues to urge this

Court to ignore the D.C. Circuit’s prior decision and omit consideration of “the need for public

access” as well as “the purposes for which the documents were introduced during the judicial

proceedings.” In re Los Angeles Times Commc’ns LLC, 28 F.4th 292, 298 (D.C. Cir. 2022).

       As Applicant’s opposition explained, the core public interest in access to the Warrant

Materials requires access to the probable-cause showing, in particular, or else there is no

meaningful sense in which access can “serve[] as a check on the judiciary” and the executive

branch by ensuring “that judges are not merely serving as a rubber stamp for the police.” In re

Application of WP Company LLC (“In re WP I”), No. 16-mc-351, 2016 WL 1604976, at *2

(D.D.C. Apr. 1, 2016) (Howell, C.J.) (quoting In re N.Y. Times Co., 585 F. Supp. 2d 83, 88

(D.D.C. 2008)); see also In re Los Angeles Times Commc’ns, 28 F.4th at 297 (holding that the

common law presumption of access attaches to the Warrant Materials exactly because they

“would have been intended to influence a judicial decision to find probable cause”). But given

the breadth of the Government’s proposed redactions, a reader of the Materials today is in no

better a position to evaluate the conduct of the judiciary or the executive than it was before; they

cannot form their own view as to whether the Government in fact demonstrated probable cause.

       That result would make the D.C. Circuit’s conclusion that a “strong presumption in favor

of public access” attaches to warrant materials a practical nullity, a result that cannot be

reconciled with the appellate court’s mandate. In re Los Angeles Times Commc’ns LLC, 28 F.4th

at 297 (quotation omitted). “Public confidence in our judicial system cannot long be maintained

where important judicial decisions are made behind closed doors and then announced in

conclusive terms to the public, with the record supporting the court’s decision sealed from public




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view.” United States v. Sealed Search Warrants, 868 F.3d 385, 395 (5th Cir. 2017) (internal

quotations and alterations omitted). In omitting any recognition––to say nothing of a reasoned

discussion––of the factors favoring access to the specific materials it asserts should be redacted,

the Government’s supplement again falls short of the conscientious balancing Hubbard requires.

       II.     The Government continues to understate the volume and nature of the
               information that is already in the public domain about the Justice
               Department’s investigation.

       As Applicant’s opposition explained, it is highly unlikely that none of the information in

the Warrant Materials overlaps with information disclosed by the filings in Securities & Exch.

Comm’n v. Fauth, No. 1:21-mc-00787 (S.D.N.Y. Oct. 20, 2021), and publicly available

information cannot be sealed. The Government appears to reach the opposite result only by

taking an unduly restrictive view of the information that is already in the public domain.

       For instance, the Government’s account of the facts disclosed by the SEC’s filings

studiously omits that agency’s detailed discussion of Senator Burr’s interactions with his wife,

Gerald Fauth, and Mary Fauth, including as reflected in telephone and internet metadata. See

Memorandum of Law at 4–5, Securities & Exch. Comm’n v. Fauth, No. 1:21-mc-00787

(S.D.N.Y. Oct. 22, 2021).1 But the fact that this information has already been disclosed in an




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        The Government’s insistence that it is unaware of any “warrant [for Burr’s iCloud data]
the fruits of which were utilized either in connection with the materials or by the SEC” is almost
certainly a case of hair-splitting over whether the Government used a warrant in particular––as
opposed to another form of legal process––to obtain metadata for which a warrant would not be
required. Gov’t Reply at 5; see also Marcy Wheeler, Jeffrey Clark: Physics Takes Over the
Investigation Now, EmptyWheel (June 27, 2022), https://perma.cc/5MUR-455A (noting that it is
routine Justice Department practice to use cloud metadata to build probable cause for cellphone-
seizure warrants). The important point, which the Government’s supplement entirely fails to
acknowledge, is that the fact of those contacts between the Burrs and the Fauths is already
public, as is the fact that the Government seized their telephone and internet metadata. There is
no residual interest in concealing references to those realities in the Warrant Materials.



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official narrative of potential misconduct is critical to weighing any residual privacy interests

those individuals do—or more to the point do not—have. To the extent those individuals are

among the uncharged third parties the Government references, see Gov’t Supplement at 2–5

(relying on the privacy interests of uncharged individuals in justifying the sealing of Paragraphs

4, 9–11, 50, 53, 59–61), it should be clear the Government cannot rely talismanically on the fact

that they were not indicted to justify continued sealing, because this is not a case in which

disclosure would “present the risk that the identity of an innocent third person will be newly

disclosed to the media.” In re N.Y. Times Co., 585 F. Supp. 2d at 91 (emphasis added).2

       In particular, the public already knows there was a “criminal investigation of [Gerald]

Fauth,” a fact that Fauth—himself a high-level federal government official—has acknowledged.

In re Los Angeles Times Commc’ns LLC, 28 F.4th at 296 (citing Decl. of F. Joseph Warin,

Securities & Exch. Comm’n v. Fauth, No. 1:21-mc-00787, at 3–4 (S.D.N.Y. Oct. 27, 2021)).

Fauth cannot suffer reputational harm from further confirmation of that fact.3 And the public

would not be shocked to learn that the Government also explored any role that Brooke Burr and

Mary Fauth may have played in the interactions between Senator Burr and Gerald Fauth, because

the public already knows 1) that the potentially unlawful sales involved stocks that they held

jointly or in their own accounts; 2) that the Government has their telephone and internet

metadata; and 3) that they “communicated regularly” with Senator Burr and Gerald Fauth in the



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       The same is true for redactions beyond the ones the Court asked the Government to brief,
wherever information is redacted to conceal the fact that the Government investigated the named
individuals––including, for instance, redactions to the information to be seized in Attachment B.
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        The Government’s insistence on concealing the statutes on which the probable cause
allegation in Paragraph 4 is based is especially odd, not only because it is unclear what additional
stigma that disclosure could possibly cause but also because the Warrant Materials elsewhere
identify the relevant statutes as 15 U.S.C. § 78j(b) and 18 U.S.C. § 1348. See ECF 25-1 at 6.



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window immediately leading up to the potentially unlawful sales. Memorandum of Law, supra,

at 4–5. Indeed, it would be surprising to learn that the warrant did not seek evidence of Senator

Burr’s communications with Brooke Burr or Mary Fauth, or that the Government did not

investigate their level of involvement in the sales, given the role that the same information has

apparently played in the SEC’s investigation. Again, those individuals are as handicapped as

they are helped by the Government’s extensive redactions, because an official agency has

already cast a cloud of suspicion––warranted or not––over their conduct. See United States v.

Holy Land Foundation for Relief & Development, 624 F.3d 685, 690 (5th Cir. 2010).

       The Government cannot continue to refuse to confront the reality that when warrant

materials “stem[] from a publicly acknowledged investigation of widely known allegations of

misconduct,” any danger that “disclosure would raise new privacy and reputational concerns” is

“significantly minimiz[ed].” In re Application of WP Company LLC (“In re WP II”), 201 F.

Supp. 3d 109, 125 (D.D.C. 2016) (Howell, C.J.) (emphasis added). Its redactions are overbroad.

       II.     The Government’s reliance on grand jury secrecy interests is misplaced.

       Finally, the Government suggests—but does not state outright—that most of the

paragraphs it proposes to redact consist of grand jury information shielded from disclosure by

Rule 6(e). See Gov’t Supplement at 2–5 (relying hypothetically on grand jury secrecy with

respect to Paragraphs 7, 21, 28, 29, 39–42, 45–47, 50–53, and 58–61). That cannot plausibly be

the case unless the Government has taken an incorrectly broad view of the grand jury secrecy

rule. As this Court has explained, and as Applicant explained in its opposition, “Rule 6(e) does

not allow DOJ to ‘draw a veil of secrecy . . . over all matters occurring in the world that happen

to be investigated by a grand jury.’” In re Application of the Committee on the Judiciary, 332

F.R.D. 412, 415 (D.D.C. 2019) (Howell, C.J.) (quoting Labow v. Dep’t of Justice, 831 F.3d 523,




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529 (D.C. Cir. 2016)); see also Response of Los Angeles Times Communications LLC, supra, at

11–12 (elaborating on the limits of Rule 6(e)).4 And it is insufficient under D.C. Circuit

precedent for the Government to simply point to passages of presumptively public warrant

materials that it wishes to conceal and solemnly invoke the phrase ‘grand jury.’ Instead, the

Government bears the “burden of demonstrating some nexus between disclosure and revelation

of a protected aspect of the grand jury’s investigation.” Lopez v. Dep’t of Justice, 393 F.3d 1345,

1350 (D.C. Cir. 2005) (quotation omitted). Having been given another opportunity to do so, the

Government still has not attempted to make that showing. This Court should reject the

Government’s seeming reliance on grand jury secrecy as a basis for continued sealing.

                                         CONCLUSION

       For the reasons given in Applicant’s prior opposition to the Government’s motion for

continued sealing—and as supplemented here—Applicant respectfully urges the Court to reject

the Government’s proposed redactions and to order further unsealing of the Warrant Materials.

Date: August 9, 2022                                 /s/ Katie Townsend
                                                     Katie Townsend
                                                     ktownsend@rcfp.org
                                                     D.C. Bar. No. 1026115
                                                     Grayson Clary
                                                     gclary@rcfp.org
                                                     D.C. Bar No. 1735810
                                                     REPORTERS COMMITTEE FOR


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        The Government also apparently takes the view that the information already in the public
domain is irrelevant to this analysis unless it was the Government itself that “share[d] that
information.” Gov’t Supplement, supra, at 3–5. But again, the Government’s position is
incompatible with Circuit precedent, which asks whether “information is sufficiently widely
known that it has lost its character as Rule 6(e) material” despite official unwillingness to
confirm it. In re North, 16 F.3d 1234, 1245 (D.C. Cir. 1994). And the same is true even if the
information in the public domain is “not necessarily identified as grand-jury-related” in media
reports. Id. at 1244. If information the Government claims is grand jury material nevertheless
appears in the SEC’s filings, it does not matter whether the SEC learned that information from
the Government or whether the information has been identified as grand jury material in
particular. Either way, Rule 6(e) does not protect secrecy that “no longer exists.” Id. at 1245.

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                                  FREEDOM OF THE PRESS
                                 1156 15th Street NW, Suite 1020
                                 Washington, D.C. 20005
                                 Telephone: (202) 795-9300
                                 Facsimile: (202) 795-9310

                                 Counsel for Applicant Los Angeles Times
                                 Communications LLC




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